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12
     [Defense counsel information on following page]
13

14                                   UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16

17   SAGE GLOBAL SERVICES LIMITED;                      Case No. 5:23-cv-4534-BLF
     SAGE SOFTWARE, INC.,
18                                                      STIPULATION AND [PROPOSED]
                       Plaintiffs,                      ORDER RE: BRIEFING ON MOTION
19                                                      TO DISMISS
            v.
20                                                      Trial Date: August 10, 2026
     4TH PARADIGM (BEIJING)                             Judge: Hon. Beth Labson Freeman
21   TECHNOLOGY CO., LTD.,

22                     Defendant.

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                 STIPULATION AND [PROPOSED] ORDER RE: BRIEFING ON MOTION TO DISMISS
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     Attorneys for Defendant
16

17          TO THE HONORABLE COURT AND ALL PARTIES AND THEIR COUNSEL

18   OF RECORD:

19          Plaintiffs Sage Global Services Limited and Sage Software, Inc. (“Plaintiffs”) and

20   Defendant 4th Paradigm (Beijing) Technology Co., Ltd. (“Defendant”) (collectively, the

21   “Parties”), by and through their respective attorneys of record, hereby stipulate as follows:

22      1. Defendant on April 3, 2025 filed a motion to dismiss the First Amended Complaint (Dkt.

23          No. 58) for lack of personal jurisdiction (Dkt. No. 61, the “Motion to Dismiss”), with an

24          oral argument date of May 29, 2025.

25      2. Plaintiffs seek an extended briefing schedule that allows more time for their opposition

26          brief and allows Defendant a reciprocal extension for its reply brief.

27      3. Defendant agrees to stipulate to an extended briefing schedule only on the condition that it

28          will not require adjourning or otherwise postponing the May 29, 2025 oral argument date.

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               STIPULATION AND [PROPOSED] ORDER RE: BRIEFING ON MOTION TO DISMISS
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 1      4. Plaintiffs submit that the facts recited herein constitute good cause for the stipulated

 2          extension, and Defendant does not oppose.

 3      5. Thus, the Parties hereby stipulate on the condition that there will be no adjournment or

 4          postponement of the May 29, 2025 oral argument date set for Defendant’s Motion to

 5          Dismiss (Dkt. No. 61), and subject to the approval of the Court, as follows:

 6          •   Plaintiffs’ deadline to file their opposition to the Motion to Dismiss is April 28, 2025.

 7          •   Defendant’s deadline to file its reply in further support of the Motion to Dismiss is

 8              May 13, 2025.

 9      6. This revised briefing schedule ensures that the final reply brief will be filed more than 14

10          days before the scheduled oral argument.

11          This Stipulation is supported by the Civil Local Rule 6-2(a) Declaration of James D.

12   Weinberger pursuant to submitted herewith.

13          IT IS SO STIPULATED.

14
     Dated: April 9, 2025                  FROSS ZELNICK LEHRMAN & ZISSU, P.C.
15

16                                         By:    /s/ James D. Weinberger
                                                           JAMES D. WEINBERGER
17
                                           Attorneys for Plaintiffs Sage Global Services
18                                         Limited; Sage Software, Inc.
19   Dated: April 9, 2025                  ORRICK, HERRINGTON & SUTCLIFFE LLP
20
                                           By /s/ Diana M. Rutowski
21                                                      DIANA M. RUTOWSKI
22                                         Attorneys for Defendant 4th Paradigm (Beijing)
                                           Technology Co., Ltd.
23

24
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
25

26
     Dated: April __, 2025         _________________________________
27                                       Hon. Beth Labson Freeman
                                         United States District Judge
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                STIPULATION AND [PROPOSED] ORDER RE: BRIEFING ON MOTION TO DISMISS
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 2                          CIVIL LOCAL RULE 5-1(i)(3) ATTESTATION

 3          I hereby attest that each of the other signatories hereto concur in the filing of this

 4   document.

 5   Dated: April 9, 2025                  FROSS ZELNICK LEHRMAN & ZISSU, P.C.

 6
                                           By:   /s/ James D. Weinberger
 7                                                        JAMES D. WEINBERGER

 8                                        Attorneys for Plaintiffs Sage Global Services
                                          Limited; Sage Software, Inc.
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                 STIPULATION AND [PROPOSED] ORDER RE: BRIEFING ON MOTION TO DISMISS
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13                                    UNITED STATES DISTRICT COURT

14                              NORTHERN DISTRICT OF CALIFORNIA

15

16   SAGE GLOBAL SERVICES LIMITED;                         Case No. 5:23-cv-4534-BLF
     SAGE SOFTWARE, INC.,
17                                                         DECLARATION OF JAMES D.
                        Plaintiffs,                        WEINBERGER IN SUPPORT OF
18                                                         STIPULATION RE: BRIEFING ON
            v.                                             MOTION TO DISMISS
19
     4TH PARADIGM (BEIJING)                                [Civil Local Rule 6-2(a)]
20   TECHNOLOGY CO., LTD.,
                                                           Trial Date: August 10, 2026
21                      Defendant.                         Judge: Hon. Beth Labson Freeman

22

23          I, JAMES D. WEINBERGER, declare as follows:

24          1.      I am a partner at the law firm of Fross Zelnick Lehrman & Zissu, P.C., lead

25   counsel for Plaintiffs Sage Global Services Limited and Sage Software, Inc. (“Plaintiffs”). I have

26   been admitted pro hac vice in this action. I have personal knowledge of the facts set forth below

27   and, if called as a witness, I could and would competently testify thereto. I submit this

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             WEINBERGER DECLARATION ISO STIPULATION RE: BRIEFING ON MOTION TO DISMISS
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 1   declaration pursuant to Civil Local Rule 6-2(a), in support of the parties’ stipulated request to

 2   extend the briefing schedule on Defendant 4th Paradigm (Beijing) Technology Co., Ltd.’s

 3   (“Defendant”) motion to dismiss.

 4          2.      Defendant on April 3, 2025 filed a motion to dismiss the First Amended

 5   Complaint (Dkt. No. 58) for lack of personal jurisdiction (Dkt. No. 61, the “Motion to Dismiss”),

 6   with an oral argument date of May 29, 2025.

 7          3.      Plaintiffs seek an extended briefing schedule that allows more time for their

 8   opposition brief and allows Defendant a reciprocal extension for its reply brief, and defendant

 9   has agreed to stipulate to an extended briefing schedule only on the condition that it will not

10   require adjourning or otherwise postponing the May 29, 2025 oral argument date. Accordingly,

11   the parties have agreed that, subject to the approval of the Court, Plaintiffs’ deadline to file their

12   opposition to the Motion to Dismiss will be April 28, 2025 and Defendant’s deadline to file its

13   reply in further support of the Motion to Dismiss will be May 13, 2025 (more than 14 days

14   before the scheduled oral argument).

15          4.      There have been no prior extensions of the briefing schedule on the Motion to

16   Dismiss and the requested extension will have no effect on the schedule for the case.

17          I declare under penalty of perjury under the laws of the United States of America that the

18   foregoing is true and correct.

19          Executed this 9th day of April, 2025 in New York, New York.

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                                                                  /s/ James D. Weinberger
21                                                                   James D. Weinberger
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             WEINBERGER DECLARATION ISO STIPULATION RE: BRIEFING ON MOTION TO DISMISS
